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M HEALTH FAIRVIEW GERIATRICS
1700 UNIVERSITY AVENUE W

SAINT PAUL MN 55104-3727

Phone: 651-232-2002 H EA LTH
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2/26/2025

RE: Jerry H Saliterman

To whom it may concern

Jerry has severe chronic medical conditions including severe COPD requiring
supplemental oxygen and Parkinsons disease. These impair his functional capacity,
endurance, and mobility. He would be significantly burdened by arranging to leave his

residence and to appear in court. Please excuse him from court appearance, or if able,
offer accommodations, for Friday 2/28/25

Thank you

Benjamin Rosenstein, MD, MA

Patient Name: Jerry H Saliterman DOB: 9/23/1947 PAGE: 1/1
